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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

JOSEPH MACARTHUR,

JAMIE VILLALOBOS, and

JESUS HERNANDEZ,
Plaintiffs,

vs. Case No: 6:14-cv-2085-Orl-41GJK

US CORRECTIONS LLC

USG7, LLC

ASHLEY JACQUES aka ASH JAQUES, and
STEVEN L. JACQUES,

Defendants.
/

PLAINTIFF, JESUS HERNANDEZ’S, RESPONSE TO COURT’S
INTERROGATORIES

1. 5/05/2014 — 7/18/2014

2. Ashley Jacques

3. No, there was not a set schedule.

4, Fugitive Extradition Officer. My job was to pick up prisoners all over the United
States of America and transport them from jail to jail and/or Correctional
Institutes and prisons. I took the prisoners to the hospitals during emergency
situations and health issues and stayed on watch.

5. $8.00/ hour

6. Plaintiff believes that all of the following apply to his claim:

a. Off the clock work (Defendant failed to record, or prohibited your from
recording, all of your working time;
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ao oP

a.
b.

misclassification (Defendant mistakenly classified you as exempt from
overtime;

miscalculation (Defendant failed to correctly calculate your
compensation);

Other: In addition to the overtime issue, Defendants have failed and
refused to give Plaintiff his final paycheck.

5/05/2014 — 7/18/2014

40 hours a week

301.25 hours total

Pay received $4,936.00. He should have been paid $6,335.00. Amount
includes unpaid regular hours in final check that was never received.
$1,399.00. Amount does not include statutory rights such as liquidated
damages, fees, check cancelation costs or costs.

n/a
n/a

9. Plaintiff counsel has spent approximately 60 hours to date. His hourly rate would
be in the range of $200 to $300 an hour. Costs at this point are approximately
$600, which includes the filing fee.

10. I informed Ashley Jacques on July 24, 2014.

11. Oral and via text messages. Text messages provided to Defendants.

12. Ashley stated to come pick up the money order. When I informed him that I
would come pick it up, he informed that he was not there and would be there in
the morning. I requested that he mail it, he stated to come pick it up. He stated he

would be waiting and when I informed him that I was on my way, he informed
me that there is no one there.
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(Plaintiff's Signature)

STATE OF FLORIDA

COUNTY OF _OWG nge :

BEFORE ME, the undersigned authority, on this day, personally appeared

rnandez , who being first duly sworn, deposes and says that

he/she has read the foregoing Answers to Interrogatories, knows the contents of same, and
to the best of his/her knowledge and belief, the same are truc and correct.

o TO AND SUBSCRIBED before me on this ane day of, january ,
20:

NOTARY PUBLIC

f
Signature of Person Taking Acknowledgment

Notary Stamp Print Name: ATIYA HUNROE
Title: Notary Public
Serial No. (ifany): EF (5326
Commission Expires: October 2, 7S

 

 
